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               EXHIBIT RR
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From: Rosen, Eric (USAMA) <Eric.Rosen@usdoj.gov>
Sent: Tuesday, March 24, 2020 8:55 PM
To: Kendall, Michael <michael.kendall@whitecase.com>
Cc: Bell, Karin (USAMA)3 <Karin.Bell@usdoj.gov>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>; Kearney, Kristen
(USAMA) <Kristen.Kearney@usdoj.gov>; Tomback, Andrew <andrew.tomback@whitecase.com>;
Malkiel, Yakov <yakov.malkiel@whitecase.com>; Frank, Stephen (USAMA) 1
<Stephen.Frank@usdoj.gov>
Subject: RE: US v. Siddoo, Follow up on discovery

Mike –

        In response to your further inquiry, Singer did inform the government that he had scheduled a
FaceTime call prior to the call, and the government directed Singer to maintain his regular college
counseling contacts with students during the period in which he was cooperating with investigators.

         We believe we have now provided you with all the factual information we have about the call.

         Eric


From: Kendall, Michael <michael.kendall@whitecase.com>
Sent: Tuesday, March 24, 2020 12:38 PM
To: Rosen, Eric (USAMA) <erosen2@usa.doj.gov>
Cc: Bell, Karin (USAMA)3 <KBell3@usa.doj.gov>; O'Connell, Justin (USAMA) <JOconnell@usa.doj.gov>;
Wright, Leslie (USAMA) <LWright4@usa.doj.gov>; Kearney, Kristen (USAMA) <KKearney@usa.doj.gov>;
Tomback, Andrew <andrew.tomback@whitecase.com>; Malkiel, Yakov
<yakov.malkiel@whitecase.com>
Subject: US v. Siddoo, Follow up on discovery

Eric,

Thanks for your prompt reply. It was very helpful. We need to clarify a few details:

         What is the reason that the Government did not monitor the call?
         Did Singer fail to tell the Government about the call before it occurred?
         When and how did the Government first learn about the call—from our inquiries?

Mike


Michael Kendall | Partner
T +1 617 979 9310 M +1 617 905 8206 E michael.kendall@whitecase.com
White & Case LLP | 75 State Street | Boston, MA 02109-1814
From: Rosen, Eric (USAMA) <Eric.Rosen@usdoj.gov>
Sent: Tuesday, March 24, 2020 11:23 AM
To: Malkiel, Yakov <yakov.malkiel@whitecase.com>; Bell, Karin (USAMA)3 <Karin.Bell@usdoj.gov>
Cc: O'Connell, Justin (USAMA) <Justin.O'Connell@usdoj.gov>; Wright, Leslie (USAMA)
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<Leslie.Wright@usdoj.gov>; Kearney, Kristen (USAMA) <Kristen.Kearney@usdoj.gov>; Kendall, Michael
<michael.kendall@whitecase.com>; Tomback, Andrew <andrew.tomback@whitecase.com>
Subject: RE: US v. Siddoo, Follow up on discovery

Yakov –

            We are responding to your emails of March 21, 23 and 24, 2020.

          First, as we indicated in our reply on March 19, 2020, we do not believe we have any additional
          information responsive to your request about the note. As we have previously indicated, we are
          reviewing our productions to ensure that that is the case. To the extent Singer drafted the note
          “in response” to anything, we do not believe it was a request from the government. It may have
          been a request from his own counsel. To the extent we find any information responsive to your
          request, we will produce it promptly.

          Second, we do not believe we have additional agent reports or notes of the September 28, 2018
          meeting in California. As you note, the call occurred during a break in the meeting and the
          government did not play a “role” in the call or monitor it. To the extent we find any information
          responsive to your request, we will produce it promptly.

                            Eric

From: Malkiel, Yakov <yakov.malkiel@whitecase.com>
Sent: Tuesday, March 24, 2020 11:15 AM
To: Bell, Karin (USAMA)3 <KBell3@usa.doj.gov>
Cc: Rosen, Eric (USAMA) <erosen2@usa.doj.gov>; O'Connell, Justin (USAMA) <JOconnell@usa.doj.gov>;
Wright, Leslie (USAMA) <LWright4@usa.doj.gov>; Kearney, Kristen (USAMA) <KKearney@usa.doj.gov>;
Kendall, Michael <michael.kendall@whitecase.com>; Tomback, Andrew
<andrew.tomback@whitecase.com>
Subject: RE: US v. Siddoo, Follow up on discovery

Dear Karin,

We are writing to ask that you resolve a discovery problem that is impeding our efforts to meet Judge
Gorton’s Order that we file by tomorrow all motion practice relevant to sanctions over the delayed
production of Singer’s iPhone notes. We have made repeated requests to the USAO for discovery
related to two issues directly relevant to this motion practice:

    1.  All information and documents in the government’s possession relating to a FaceTime call Singer
       had with the Wilson family on September 28, 2018, apparently while he was in the Sacramento
       FBI office with two prosecutors and four agents from the prosecution team. It appears that the
       team took a break from its debriefing to allow Mr. Singer to conduct this call. The Government
       did not record this call, nor did it reference it in the FBI-1023 of the September 28 interview.
    2. All information and documents that describe the circumstances that lead to the creation of
       Singer’s note on January 30, 2019 referencing John Wilson and USC.

We request that the government produce the requested information today, and respond forthwith and tell
us what it intends to do. If the government is going to refuse to provide complete disclosure, we will need
to move for expedited discovery before Magistrate Judge Kelley.

We look forward to your response. We are also available to discuss this today by telephone.
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Mike, Andy, and Yakov


Yakov Malkiel | Associate
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White & Case LLP | 75 State Street | Boston, MA 02109-1814
From: Kendall, Michael <michael.kendall@whitecase.com>
Sent: Monday, March 23, 2020 12:45 PM
To: Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Kearney, Kristen (USAMA) <Kristen.Kearney@usdoj.gov>; Frank, Stephen
(USAMA) 1 <Stephen.Frank@usdoj.gov>; Bell, Karin (USAMA)3 <Karin.Bell@usdoj.gov>; Rosen, Eric
(USAMA) <Eric.Rosen@usdoj.gov>
Subject: US v. Siddoo, Follow up on discovery

Leslie,

Thank you for your March 18, 2020 response to our questions. We are writing to follow-up on item
4. According to a recently produced FD-1023 report with a Date of Contact September 28, 2018, Mr.
Singer was at the FBI’s Sacramento office on September 28, 2018. Six agents and prosecutors had flown
out from Boston to conduct the interview. Mr. Singer apparently made the 33-minute FaceTime call you
mention during a break that took place “at approximately 13:15 pst” (according to the FD-1023, at page
3 of 4). There is no mention of the FaceTime conversation in the FD-1023 or the agents’ handwritten
notes. Does the USAO – including all agents and AUSAs present -- have any documents or information
describing this FaceTime call, including participants, contents, etc. and the agents’ and AUSAs’ role in
it? If so, could you please provide the relevant documents and reduce the participants’ memories to a
narrative summary and produce that to us today?

Mike



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From: Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>
Sent: Wednesday, March 18, 2020 10:30 AM
To: Kendall, Michael <michael.kendall@whitecase.com>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Kearney, Kristen (USAMA) <Kristen.Kearney@usdoj.gov>; Frank, Stephen
(USAMA) 1 <Stephen.Frank@usdoj.gov>; Bell, Karin (USAMA)3 <Karin.Bell@usdoj.gov>; Rosen, Eric
(USAMA) <Eric.Rosen@usdoj.gov>
Cc: William Trach <william.trach@lw.com>; Jack Dicanio <jack.dicanio@skadden.com>; CS Flashner
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<mcamp@hueston.com>
Subject: RE: US v. Siddoo, Follow up on discovery

Counsel,

Please see attached in response to your email below.

Thanks,
Leslie

Leslie Wright
Assistant United States Attorney
U.S. Attorney’s Office, District of Massachusetts
1 Courthouse Way, Suite 9200
Boston, MA 02210
(617) 748-3367
leslie.wright@usdoj.gov

From: Kendall, Michael <michael.kendall@whitecase.com>
Sent: Sunday, March 15, 2020 11:55 AM
To: O'Connell, Justin (USAMA) <JOconnell@usa.doj.gov>; Wright, Leslie (USAMA)
<LWright4@usa.doj.gov>; Kearney, Kristen (USAMA) <KKearney@usa.doj.gov>; Frank, Stephen (USAMA)
1 <SFrank1@usa.doj.gov>; Bell, Karin (USAMA)3 <KBell3@usa.doj.gov>; Rosen, Eric (USAMA)
<erosen2@usa.doj.gov>
Cc: William Trach <william.trach@lw.com>; Jack Dicanio <jack.dicanio@skadden.com>; CS Flashner
<csflashner@mintz.com>; Vicki Chou <vchou@hueston.com>; allison.blanco@lw.com;
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Miner <tminer@mosllp.com>; D Schumacher <dschumacher@health-law.com>; Marshall A. Camp
<mcamp@hueston.com>
Subject: US v. Siddoo, Follow up on discovery
          Case 1:19-cr-10080-NMG Document 972-44 Filed 03/25/20 Page 6 of 6




Dear Counsel,

In your email of March 12, you invited us to follow up on outstanding discovery requests after reviewing
your next production. We write now to raise a limited, preliminary set of issues given that (a) your
production will not be delivered to us until March 16, (b) processing and reviewing the production will take
time, (c) we are required to meet a March 20 filing deadline, and (d) your March 13 discovery cover letter
already discloses basic information about the contents of the production.

     1.    We have asked you to produce the attachments/exhibits referenced in the Singer and USC FBI
           memoranda. The discovery cover letter does not indicate that we will be receiving those
           documents.
     2.    We have asked whether the government has obtained information from USC’s attorneys
           regarding USC persons and USC conduct. We requested that you disclose any such
           information, if so. It does not appear from the discovery cover letter that you are addressing this
           request.
     3.    We have requested information about whether the Government has made any promises,
           rewards or inducements to Mr. Singer or his relatives about possible criminal conduct by Singer
           and his relatives that is uncharged and unrelated to the parents charged in this case. Further,
           we asked whether Mr. Singer has made any statements under oath or otherwise about his
           assets, whether the government has permitted Singer to keep any assets, and if so which
           ones. It does not appear that your production will be addressing this request.
     4.    We are unable to tell from the discovery cover letter, but need to know urgently, whether your
           production provides detailed information about the following:
                a. An unrecorded conversation between Rick Singer and the Wilson family reflected by
                     or immediately following interception session 9193.
                b. The list in Singer’s iPhone note of January 30, 2019, 22:26 (at SINGER-PHONE-
                     000664), which states, “John Wilson 20k nothing to do with USC plus donation to
                     USC program for real polo player.”
     5.    Finally, we have made various specific Brady requests to you, including in our letters of
           September 27, 2019 and January 28, 2020. To date, you have declined to inform us whether
           you are withholding evidence responsive to those requests.

Given the pressing discovery and motion timelines, we request a teleconference to discuss these
requests. On Monday-Tuesday we are available beginning at 4:30 pm (earlier those days we are
unavailable because of a trial at Middlesex Superior Court).

Thank you,

Mike

=====================================================================
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